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 8                             UNITED STATES DISTRICT COURT

 9           NORTHERN DISTRICT OF CALIFORNIA - SAN FRANCISCO DIVISION

10 SECURITIES AND EXCHANGE                         Case No. 3:17-CV-00223-RS
   COMMISSION,
11
                Plaintiff,                         ORDER APPROVING TWENTIETH
12                                                 INTERIM APPLICATION FOR
          vs.                                      COMPENSATION FOR ACCOUNTANT
13                                                 FOR FEDERAL RECEIVER
   SAN FRANCISCO REGIONAL CENTER, LLC;
14 THOMAS M. HENDERSON; CALIFORNIA
   GOLD MEDAL, L.P.; CALLSOCKET, L.P.;
15 CALLSOCKET II, L.P.; CALLSOCKET III,
   L.P.; COMPREHENSIVE CARE OF                     Date:    July 28, 2022
16 OAKLAND, L.P.; NA3PL, L.P.; WEST                Time:    1:30 p.m.
   OAKLAND PLAZA, L.P.; CALLSOCKET,                Place:   17th Floor, Ctrm. 3
17 LLC; CALLSOCKET II, LLC; CALLSOCKET                      450 Golden Gate Ave.
   III, LLC; COMPREHENSIVE CARE OF                          San Francisco, CA 94102
18 CALIFORNIA, LLC; IMMEDIA, LLC; and              Judge:   Hon. Richard Seeborg
   NORTH AMERICA 3PL, LLC,
19
                Defendants,
20
                -and-
21
   CALLSOCKET HOLDING COMPANY, LLC;
22 CALLSOCKET III HOLDING COMPANY,
   LLC; BERKELEY HEALTHCARE
23 DYNAMICS, LLC; CENTRAL CALIFORNIA
   FARMS, LLC; and JL GATEWAY, LLC,
24
                Relief Defendants.
25

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                                            1                     Case No. 3:17-CV-00223-RS
              ORDER APPROVING TWENTIETH INTERIM APPLICATION FOR COMPENSATION
                            ACCOUNTANT FOR FEDERAL RECEIVER
        Case 3:17-cv-00223-RS Document 998 Filed 07/14/22 Page 2 of 2




 1          This matter came before the Court on the motion for approval of the Twentieth Interim

 2 Application for Compensation by Bachecki Crom & Co., LLP (“Bachecki”), Accountant for

 3 Federal Receiver ("Nineteenth Interim Application"), which seeks: (1) approval of fees and costs

 4 in the incurred by Bachecki during the period of January 1, 2022 to March 31, 2022 (“Twentieth

 5 Application Period”); (2) authority to pay to Bachecki from the Receivership Estate assets 100%

 6 of the fees and costs incurred during the Twentieth Application Period on an interim basis, and (3)

 7 authority to pay to Bachecki all remaining amounts previously allowed and held back in

 8 connection with JMBM's prior applications in the amount of $151,980.41. The Court, after having

 9 considered the Twentieth Application; the certification filed concurrently in support thereof; any

10 objections thereto; the other pleadings filed in this action; and finding that the fees and costs were

11 reasonable and necessary; that notice was appropriate; that the Twentieth Interim Application is in

12 accordance with the Order Appointing Receiver (Docket No. 100, ¶¶ 56-60); and that the services

13 provided by Bachecki were of substantial benefit to the estate, hereby ORDERS, ADJUDGES

14 AND DECREES as follows:

15          1.      Bachecki’s Twentieth Interim Application is GRANTED. Fees and costs in the

16 amount of $4,028.50 in fees and $1,255.22 respectively, are approved and allowed on an interim

17 basis.

18          2.      The Receiver is AUTHORIZED to pay to Bachecki from the Receivership Estate

19 assets 100% of the approved fees in the amount of $4,028.50 and 100% of the costs in the amount

20 of $1,255.22.

21          3.      The Receiver is AUTHORIZED to pay to Bachecki from the Receivership Estate

22 assets all remaining amounts previously allowed and held back in connection with Bachecki's

23 prior applications in the amount of $151,980.41.

24          IT IS SO ORDERED.

25

26 DATED:        July 14, 2022
                                                              Richard Seeborg
27
                                                              UNITED STATES DISTRICT JUDGE
28
                                               2                     Case No. 3:17-CV-00223-RS
                 ORDER APPROVING TWENTIETH INTERIM APPLICATION FOR COMPENSATION
                               ACCOUNTANT FOR FEDERAL RECEIVER
